
In re New Horizon Kids Quest IV Inc. et al.; — Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Avoyelles, 12th Judicial District Court Div. B, Nos. 2002-3740, 2002-3996, 2002-3997, 2002-3998; to the Court of Appeal, Third Circuit, No(s). CW 05-304, CW 05-365, CW 05-374, CW 05-285, CW 05-1044, CW 05-369, CW 05-376, CW 05-401, CW 05-406, CW 05-407, CW 05-1011, CW 05-1057, CW 05-330.
Denied.
KIMBALL, J., recused.
KNOLL, J., recused.
